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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
District of New York

Index Number: 1:22-C\V-01032-PKC- Date Filed: 2/25/2022 Amended: 1/5/2023
JRC

Plaintiff:
IME WATCHDOG, INC.,

vs.

Defendant:
SAFA ABDULRAHIM GELARDI, et al.

For:

Milman Labuda Law Group PLLC
3000 Marcus Avenue

Suite 3W8

Lake Success, NY 11042

Received by Nicoletti & Harris, Inc. to be served on Nicholas Liakas, 1 Spring Brook Road, Morristown, NJ
07960.

|, Russell Phillips, do hereby affirm that on the 2nd day of February, 2023 at 7:48 pm, I:
INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Amended Summons in a Civil Action and
First Amended Complaint with the date and hour of service endorsed thereon by me, to: Nicholas Liakas at the

address of: 1 Spring Brook Road, Morristown, NJ 07960, and informed said person of the contents therein, in
compliance with state statutes. Actual service location: (40.7794, -74.4917) accuracy 5 m.

Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United States of
America.

Marital Status: Based upon inquiry of party served, Defendant is married.

Additional Information pertaining to this Service:

2/2/2023 7:48 pm NICHOLAS LIAKAS CONFIRMED HIS IDENTITY AND WAS PERSONALLY SERVED AT THE
RESIDENTIAL ADDRESS 1 SPRING BROOK ROAD, MORRISTOWN, NJ 07960.

Description of Person Served: Age: 40, Sex: M, Race/Skin Color: White, Height: 5'10", Weight: 165, Hair: Black,
Glasses: N

| certify that | am over the age of 18, and a competent adult not having a direct interest in the litigation.

Russell Phillips
Process Server

Nicoletti & Harris, Inc.

101 Avenue Of The Americas
9th FI

New York, NY 10013

(212) 267-6448

Our Job Serial Number: NHI-2023000816
Service Fee:

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